       Case: 1:19-cv-03239 Document #: 42 Filed: 09/05/19 Page 1 of 3 PageID #:504




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

     AISHA NAMUWONGE, individually and                 )
     on behalf of all others similarly situated,       )
                                                       )   Case No. 1:19-cv-03239
                          Plaintiff,                   )
                                                       )
            v.                                         )   Hon. Judge Sharon Johnson
                                                       )   Coleman
     KRONOS, INC.,                                     )
                                                       )
                          Defendant.                   )
                                                       )

                      PLAINTIFF’S MOTION TO STAY PROCEEDINGS

          Plaintiff Aisha Namuwonge (“Plaintiff”), by and through her attorneys, Stephan Zouras,

LLP, hereby moves this Court to stay these proceedings pending a decision by a sister Court on

similar arguments made by Defendant Kronos, Inc. (“Kronos” or “Defendant”) in its Motion to

Dismiss Plaintiff’s Class Action Complaint (Dkts. 22, 23). In support thereof, Plaintiff states as

follows:

1.        Plaintiff filed her original Class Action Complaint in the Circuit Court of Cook County,

Illinois on April 5, 2019 against Plaintiff’s former employer, Brookdale Senior Living, Inc.

(“Brookdale”) and Kronos alleging that Brookdale and Kronos unlawfully collect, store, use and

disseminate Plaintiff’s, and other Brookdale employees’, biometric information and biometric

data, in violation of the Illinois Biometric Privacy Act (“BIPA”), 740 ILCS 14/1, et seq.

2.        On May 13, 2019 Kronos filed a Notice of Removal pursuant to the Class Action Fairness

Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). (Dkt. 1). On May 15, 2019, Brookdale also filed a

Notice of Removal, based on complete diversity jurisdiction under 28 U.S.C. §§ 1332 and 1441(b),

as well as CAFA jurisdiction. (Dkt. 12).



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     Case: 1:19-cv-03239 Document #: 42 Filed: 09/05/19 Page 2 of 3 PageID #:505




3.     On May 17, 2019, Brookdale filed a Motion to Dismiss and Compel Arbitration, arguing

that Plaintiff’s BIPA claims must be compelled to arbitration pursuant to a purported arbitration

agreement entered into by and between Plaintiff and Brookdale. (Dkt. 15).

4.     On May 23, 2019, Plaintiff voluntarily dismissed her claims against Brookdale, without

prejudice. (Dkt. 20).

5.     On June 19, 2019, Defendant Kronos filed a Motion to Dismiss Plaintiff’s Class Action

Complaint. (Dkt. 23). In its Motion, Kronos makes similar, if not identical, arguments that are

currently fully briefed and pending before the Honorable Judge Gary Feinerman in a separate case,

Figueroa, et al. v. Kronos Incorporated, Case No. 1:19-CV-01306 (“Figueroa”). (See Exhibit A).

6.     The pending decision on Kronos Incorporated’s Motion to Dismiss in Figueroa may be

instructive of this Court’s decision as to the instant Motion to Dismiss, (Dkts. 22, 23).

7.     Accordingly, Plaintiff respectfully requests that this Honorable Court temporarily stay

these proceedings pending the decision in Figueroa as to Kronos Incorporated’s Motion to

Dismiss.

8.     A temporary stay of these proceedings will ensure the avoidance of inconsistent rulings

and will best serve judicial economy.

       WHEREFORE, Plaintiff Aisha Namuwonge respectfully requests that this Court grant

Plaintiff’s Motion to Stay Proceedings.

Dated: September 5, 2019                      Respectfully submitted,

                                              /s/ Catherine T. Mitchell_______

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    Case: 1:19-cv-03239 Document #: 42 Filed: 09/05/19 Page 3 of 3 PageID #:506




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                                                 ATTORNEYS FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

          I, the attorney, hereby certify that on September 5, 2019, I electronically filed the attached

with the Clerk of the Court using the ECF system, which will send such filing to all attorneys of

record.


                                                                  /s/ Catherine T. Mitchell

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